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 1                                                            JS-6
 2
 3                      UNITED STATES DISTRICT COURT
 4                     CENTRAL DISTRICT OF CALIFORNIA
 5
 6
     ASSADULLAH MANELY,                    ) Case No: 5:20-cv-02066-SK
 7                                         )
                                           ) JUDGMENT
 8               Plaintiff                 )
                                           )
 9         v.                              )
                                           )
10   KILOLO KIJAKAZI, Acting               )
     Commissioner of Social Security,      )
11                                         )
                 Defendant.                )
12
13
14         Having approved the Stipulation to Voluntary Remand Pursuant to Sentence
     Four of 42 U.S.C. § 405(g),
15
           IT IS ORDERED that judgment is entered in accordance with the Order of
16
     Remand.
17
18
19
     DATE: November 2, 2021
20
                                                THE HONORABLE STEVE KIM
21                                              United States Magistrate Judge
22
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